Case 1:25-cv-00778-LLA   Document 35-14   Filed 04/18/25   Page 1 of 3




                 Exhibit M
Case 1:25-cv-00778-LLA   Document 35-14   Filed 04/18/25   Page 2 of 3
              Case 1:25-cv-00778-LLA                   Document 35-14                 Filed 04/18/25          Page 3 of 3




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